Filed 8/21/24 P. v. Delacruz CA2/4
            NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on
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     IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                SECOND APPELLATE DISTRICT
                       DIVISION FOUR


THE PEOPLE,                                                   B332689

       Plaintiff and Respondent,                              Los Angeles County
                                                              Super. Ct. No. SA105384
       v.

BENJAMIN DELACRUZ,

       Defendant and Appellant.



     APPEAL from an order of the Superior Court of Los
Angeles County, Manuel Almada, Judge. Affirmed.
     Esther R. Sorkin, under appointment by the Court of
Appeal, for Defendant and Appellant.
     No appearance for Plaintiff and Respondent.
  INTRODUCTION AND PROCEDURAL BACKGROUND

       In 2023, a jury convicted defendant and appellant
Benjamin Delacruz of possession of a firearm by a felon. (Pen
Code,1 § 29800, subd. (a)(1).) The jury acquitted him of
misdemeanor driving on a suspended or revoked license. (Veh.
Code, § 14601.1, subd. (a).) The trial court sentenced him to an
upper term of three years in state prison. Delacruz timely
appealed, and we appointed counsel to represent him. On
February 23, 2024, appellate counsel filed a brief raising no
issues and asking us to review the record independently. (People
v. Wende (1979) 25 Cal.3d 436 (Wende).) Delacruz did not respond
to our letter advising him of his right to file supplemental
briefing. Following our review of the record pursuant to Wende,
we affirm.

                  FACTUAL BACKGROUND

       George Buhkin of the Hawthorne Police Department was
on patrol on October 8, 2021, when he recognized Delacruz
driving the car in front of him. Buhkin had come in contact with
Delacruz numerous times in the past. Delacruz’s car was missing
a front license plate, and Buhkin knew Delacruz’s license had
been suspended, so he decided to conduct a traffic stop. Buhkin
made a U-turn to catch up to Delacruz, but Delacruz ignored a
red light and turned onto another street.
       After Delacruz made the turn, Buhkin saw Delacruz throw
an object out of his car, which made a spark when it hit the
ground. Buhkin thought the object looked like a gun. Buhkin
informed dispatch Delacruz had just thrown a gun out of his

1     All undesignated statutory references are to the Penal
Code.




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window. Delacruz continued driving, failed to stop at a stop sign,
then stopped his car about a block away from where he threw the
gun.
      Another officer, Verron Shimaoka, found the gun in the
parking lot where Delacruz had thrown it. The gun was a loaded
semi-automatic. It had markings and scrapes on it that were
consistent with it hitting the asphalt.

                         DISCUSSION

      We have examined the entire record, and are satisfied no
arguable issues exist. (Smith v. Robbins (2000) 528 U.S. 259, 278-
279; Wende, supra, 25 Cal.3d at p. 443.)

                         DISPOSITION

      The judgment is affirmed.

  NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                                   CURREY, P. J.
We concur:




MORI, J.




ZUKIN, J.




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